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                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF NEW JERSEY




                                                                Hon.    Peter G.           Sheridan
       UNITED STATES OF AMERICA
                                                                  Criminal No.:             09-130
       V.

       DALNAVE     GA, INC.,                                                   ORDER
       PANAGIOTIS STM4ATAKIS, and
       DIMITRIOS PAPADAKIS


               This    matter      having       been       opened       to    the     Court        by   Walder,


       Hayden    & Brogan,         P.A.       (appearing by James A.                     Plaisted,        EsgJ,


       attorneys       for     Dimitrios            Papadakis,         for     an    extension           of     the


       Order     entered      by       the    Court       on    March    27,        2009    modifying           Mr.


        Papadakis’         bail    conditions             and    terms        of     release,           and     the


        United States Attorney for the District of New Jersey Ralph J.

        Marra,      Esq.      (appearing            by     Kathleen          O’Leary)          having          been


        noticed hereto,           and Pretrial            Services       having been noticed and


        consented;      and for good cause shown

               IT IS ON THIS             (3         DAY OF APRIL,            2009

               ORDERED that Mr.               Papadakis’        terms of        release as          set       forth


        in   this     Court’s      Order       of    March      27,     2009       are    hereby        extended


        for a period of one week through and including April 24,                                              2009;


        and it is further

               ORDERED       that        Mr.        Papadakis         may      leave         his        room     on


        Saturday,      April      18,    2009       in order to attend religious                        services


        in   celebration          of    the    Greek       Easter      holiday,          and   will       not    be
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       required to return to his              room until midnight on Sunday,               April


       19,   2009.

              All       other   terms   of    release    includina     the     limitation     on


       travel to the District of New Jersey remain the same.




               -    i
                        q                         Hon.    Peter G.    Sheridan,      U.S.D.J.
